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 1                                                              THE HONORABLE JOHN H. CHUN

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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9
     FEDERAL TRADE COMMISSION, et al.,                     Case No. 2:23-cv-01495-JHC
10
                           Plaintiffs,                     [PROPOSED] ORDER DENYING
11
                                                           MOTION OF AMERICAN
            v.
12                                                         BOOKSELLERS ASS’N TO
                                                           INTERVENE
     AMAZON.COM, INC., a corporation,
13

14                         Defendant.

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17          This matter comes before the Court on non-party America Booksellers Association, Inc.’s
18   Motion to Intervene, Dkt. No. 205 (the “Motion”). The Court, having considered the Motion, and
19   all other papers submitted in connection with the Motion by the parties, and for compelling reasons
20   shown, DENIES the Motion.
21

22          DATED this ____ day of _______________, 2024.
23

24
                                                      THE HONORABLE JOHN H. CHUN
25                                                    UNITED STATES DISTRICT JUDGE
26

     [PROPOSED] ORDER DENYING ABA’S MOTION                               MORGAN, LEWIS & BOCKIUS LLP
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            Case 2:23-cv-01495-JHC Document 233-1 Filed 05/23/24 Page 2 of 2




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